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                COMPOSITE
                  EXHIBIT 1
            (File Under Seal)
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                                                                    Page 1
                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                       CASE NO. 15-CV-07433-RWS


      -- ---- --- ---- - --- - ----------------- ---- - --x
      VIRGINIA L . GIUFFRE,


                                    Plaintiff ,
      V.
      GHISLAINE MAXWELL,
                                    Defendant.


      --- -- ----- -- --- - --- -- ----------- ---- ----- - -x


                                    May 18 , 2016
                                    9:04 a. m


                     C O N F I D E N T I A L
            Deposition of JOHANNA SJOBERG, pursuant
            to notice, taken by Plaintiff, at the
            offices of Boies Schiller & Flexner, 401
            Las Olas Boulevard, Fort Lauderdale, Florida,
            before Kelli Ann Willis, a Registered
            Professional Reporter, Certified Realtime
            Reporter and Notary Public within and
            for the State of Florida.




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                                                                     Page 30
 1            Q.       Did you observe her to be young when you
 2    met her?
 3                     MS . MENNINGER:     Objection, vague as to
 4            time .
 5                     THE WITNESS:      All of the women were
 6            generally young.        I did not know the ages of
 7            really anyone, so . . .
 8    BY MS. MCCAWLEY:
 9            Q.       How many massages did Jeffrey receive on
10    average in a given day?
11                     MS. MENNINGER:      Objection, foundation .
12                     THE WITNESS:      Three a day.
13    BY MS        McCAWLEY:
14            Q.       Let me back up for a moment .
15                    How long did you work for Jeffrey and
16    Ghislaine?
17                    MS. MENNINGER:       Objection, leading and
18            foundation.
19                    THE WITNESS :      I believe it was five years ,
20            2001 to 2006 .
21    BY MS. McCAWLEY:
22          Q.        And how many massages did Epstein receive
23    per day on average?
24                    MS. MENNINGER:       Objection, foundation.
25                    THE WITNESS:       Three.




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                                                                    Page 32
 1          to object and then you can still answer.            No
 2          one is going to stop you from answering.            I

 3          just need to get the objection on the record,
 4          in the same way she needs to be able to talk
 5          before you.     My apologies .     I'm not trying to
 6          cut you off , but I am supposed to get it in
 7          before you answer .
 8    BY MS. McCAWLEY:

 9          Q.     Did Jeffrey ever tell you why he received
10    so many massages from so many different girls?
11                 MS. MENNINGER:     Objection, hearsay.
12    BY MS . MCCAWLEY:
13          Q.     You can answer.
14          A.     He explained to me that, in his opinion,
15    he needed to have three orgasms a day.           It was
16    biological, like eating.
17          Q.     And what was your reaction to that
18    statement?
19          A.     I thought it was a little crazy.
20          Q.     And what did -- do you recall what               when
21    you observed the other females giving massages, do
22    you recall what they would dress like?           Did they
23    wear scrubs or did they typically wear normal
24    clothes?
25          A.     Normal clothes .




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                                                                   Page 34
 1    camera?
 2                MS . MENNINGER:     Objection, leading .

 3                THE WITNESS:      Yes .
 4    BY MS . McCAWLEY:
 5          Q.    Was there anything you were supposed to do
 6    in order to get the camera?
 7                MS. MENNINGER:      Objection, leading .
 8                THE WITNESS:      I did not know that there

 9          were expectations of me to get the camera until

10          after.     She had purchased the camera for me,
11          and I was over there giving Jeffrey a massage.
12          I did not know that she was in possession of
13          the camera until later.
14                She told me -- called me after I had left
15          and said, I have t h e camera for you, but you
16          cannot receive it yet because you came here and
17          didn 1 t finish your job and I had to finish it

18          for you.
19    BY MS. McCAWLEY:
20          Q.    And did you -- what did you understand her
21    to mean?
22          A.    She was implying that I did not get
23    Jeffrey off, and so she had to do it.
24          Q.    And when you say      11   get Jeffrey off , 11 do you
25    mean bring him to orgasm?




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                                                                Page 35

 1            A.   Yes
 2            Q.   Did Ghislaine ever describe to you what
 3    types of girls Jeffrey liked?

 4            A.   Model types.
 5            Q.   Did Ghislaine ever talk to you about how

 6    you should act around Jeffrey?

 7            A.   She just had a conversation with me that I

 8    should always act grateful.

 9            Q.   Did Jeffrey ever tell you that he took a

10    girl ' s virginity?
11            A.      He did not tell me .   He told a friend of

12    mine.
13            Q.      And what do you recall about that?

14                    MS. MENNINGER:    Objection, hearsay ,

15            foundation.

16                    THE WITNESS :    He wanted to have a friend

17            of mine come out who was cardio-kickboxer

18            instructor.     She was a physical trainer.

19                    And so I brought her over to the house

20            and he told my friend Rachel that -- he said,

21            You see that girl over there laying by the

22            pool?     She was 19 .   And he said, I just took

23            her virginity.      And my friend Rachel was

24            mortified.

25




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                                                               Page 142
 1    exposed her bra, and she grabbed it and pulled it

 2    down.
 3            Q.   Anything else?

 4            A.   That was the conversation that he had told
 5    her that he had taken this girl ' s virginity, the

 6    girl by the pool

 7            Q.   Okay.   Did Maxwell ever say to you that it
 8    takes the pressure off of her to have other girls

 9    around?
10            A.   She implied that , yes .

11            Q.   In what way?

12            A.   Sexually.

13            Q.   And earlier Laura asked you, I believe, if

14    Maxwell ever asked you to perform any sexual acts,
15    and I believe your testimony was no, but then you
16    also previously stated that during the camera
17    incident that Maxwell had talked to you about not

18    finishing the job.
19                 Did you understand "not finishing the job"

20    meaning bringing Jeffrey to orgasm?

21                 MS. MENNINGER:      Objection, leading, form.

22    BY MS . MCCAWLEY:
23            Q.   I ' m sorry, Johanna, let me correct that

24    question.
25                 What did you understand Maxwell to mean




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                                                               Page 143
 1    when she said you hadn 1 t finished the job, with
 2    respect to the camera?
 3                MS. MENNINGER:      Objection, leading, form.

 4                THE WITNESS:      She implied that I had not

 5          brought him to orgasm .
 6    BY MS. McCAWLEY:
 7          Q.    So is it fair to say that Maxwell expected
 8    you to perform sexual acts when you were massaging

 9    Jeffrey?
10                MS . MENNINGER:     Obj ection, leading, form,

11          foundation.

12                THE WITNESS:      I can answer?
13                Yes , I took that conversation to mean that
14          is what was expected of me .
15    BY MS. McCAWLEY:
16          Q.    And then you mentioned, I believe, when
17    you were testifying earlier that Jeffrey told you a
18    story about sex on the plane.         What was that about?

19                MS. MENNINGER:      Objection, hearsay .

20                THE WITNESS:      He told me one time Emmy was

21          sleeping on the plane , and they were getting

22          ready to land.      And he went and woke her up,

23          and she thought that meant he wanted a blow

24          job, so she started to unzip his pants, and he

25          said, No, no, no, you just have to be awake for




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                                                               Page 157
 1                              AFFIDAVIT
 2     STATE OF FLORIDA               )
       COUNTY OF                      )
 3
 4
                 I,                         , being first
 5          duly sworn, do hereby acknowledge that I did
            read a true and certified copy of my deposition
 6          which was taken in the case of GIUFFRE V.
            MAXWELL, taken on the 18th day of May, 2016 ,
 7          and the corrections I desire to make are as
            indicated on the attached Errata Sheet .
 8
 9                             CERTIFICATE
10
11    STATE OF FLORIDA
      COUNTY OF
12
13
                  Before me personally appeared
14
            to me well known/ known to me to be the
15          person described in and who executed the
            foregoing instrument and acknowledged to and
16          before me that he executed the said instrument
            in the capacity and for the purpose therein
17          expressed.
18
19                Witness my hand and official seal , this
                   day of
20
21
22
                                                (Notary Public)
23
24    My Commission Expires:
25




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